       Case 4:21-cr-06028-MKD          ECF No. 114     filed 02/14/22     PageID.784 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,                            Case No. 4:21-CR-6028-MKD-1

                          Plaintiff,                 CRIMINAL MINUTES

           vs.                                       DATE: 2/14/2022

JOSE MENDOZA-RUELAS,                                 LOCATION: Richland

                          Defendant.                 PRETRIAL CONFERENCE




                                        JUDGE MARY K DIMKE

Linda Hansen                   LC 03                         Natalia Rivera    Ronelle Corbey

Courtroom Deputy               Law Clerk                        Interpreter    Court Reporter

Stephanie A Van Marter                                Ben Hernandez and Nick Mirr

Plaintiff’s Counsel                                   Defendant’s Counsel

   [ X ] Open Court – Video Conference                   [ ] Probation:

   Defendant is present by video conference from the Yakima County Jail, in custody of the US Marshal; and
   assisted by a Federally Certified Spanish Interpreter. All counsel present via video conference.

   The defendant agreed to conduct the hearing via video conference. No objection by the parties to
   conducting the hearings individually.

   Motion before the Court: ECF No. 104, Motion to Join in Continuance re: Motion to Continue Pretrial,
   Trial and Extend Deadline to File Pretrial Motions, ECF No. 103.

   Nick Mirr addressed the Court regarding the motion to continue and advised there is no objection to
   adjusting dates in the Case Management Order as requested by the Government.

   The Court confirmed that the defendant agrees to the continuance and has executed a written waiver of
   speedy trial, which has been filed at ECF No. 113.

   The Court GRANTED the defendant’s motion for continuance, making ends of justice findings.
           The Trial of 3/14/2022 is STRICKEN and RESET to 5/23/2022 at 9:00 AM in Richland
           A Pretrial Conference is set for 5/5/2022 at 1:30 PM in Richland.

CONVENED: 9:47 AM            ADJOURNED: 9:57 AM            TIME: 10 MINS       [ X] ORDER FORTHCOMING
